   Case 1:18-cv-00134-BKS-ATB                Document 23-2        Filed 04/02/18   Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


NEW YORK STATE RIFLE AND PISTOL
ASSOCIATION, INC. and ROBERT NASH,

                               Plaintiffs,            Civil Action No.
                                                      1:18-CV-0134 (BKS/ATB)
       v.

GEORGE P. BEACH II, in his official capacity
as Superintendent of the New York State Police
and RICHARD J. MCNALLY, in his official
capacity as Justice of the New York State
Supreme Court, Third Judicial District, and
Licensing Officer for Rensselaer County,

                               Defendants.


        DECLARATION IN SUPPORT OF EVERYTOWN FOR GUN SAFETY’S
          MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE


       Ilann M. Maazel, pursuant to 28 U.S.C. § 1746(2) declares under penalty of perjury the

following:

       1. I am a partner with Emery Celli Brinckerhoff & Abadi LLP and a member of the bar of

this Court.

       2. I submit this declaration and the attached exhibits in support of Everytown for Gun

Safety’s motion for leave to file participate as amicus curiae.

       3. Attached as Exhibit A is a true and correct copy of Everytown for Gun Safety’s

proposed amicus curiae memorandum.

       4. A proposed order is attached as Exhibit B.
   Case 1:18-cv-00134-BKS-ATB             Document 23-2        Filed 04/02/18       Page 2 of 2




       5. As set forth in detail in Everytown for Gun Safety’s Motion for Leave to Participate as

Amicus Curiae, Everytown’s motion should be granted.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 2, 2018.                           /s/
                                                     ILANN M.MAAZEL
                                                     EMERY CELLI
                                                     BRINCKERHOFF&ABADY LLP
                                                     600 Fifth Avenue, 10th Floor
                                                     New York, NY 10020
                                                     (212) 763-5000
                                                     imaazel@ecbalaw.com
